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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                        :
                                                :
                  v.                            :       Case No. 1:22-cr-00166-BAH
                                                :
JOHN GEORGE TODD III,                           :
                                                :
                                                :
                          Defendant.            :

                  UNOPPOSED MOTION TO CONTINUE STATUS HEARING

           Defendant, through undersigned counsel John M. Pierce, moves the Court, with no

opposition from the United States, to continue this status hearing from December 6, 2022, at

11:00 a.m., to a date convenient with the Court and parties. Defendant further, with no

opposition from the United States, moves the court to toll the Speedy Trial Act, 18 U.S.C. §

3161, et seq., for the time between December 6 and the date convenient with the Court and

parties.

    1. On November 15, 2022, Honorable Magistrate Judge Upadhyaya ordered the parties to

           appear for a status hearing on December 6, 2022, at 11:00 a.m.

    2. During the week of November 28, 2022, undersigned counsel, John M. Pierce, was

           informed that he requires emergency oral surgery that was immediately scheduled for

           December 6, 2022.

    3. Mr. Pierce’s surgeon requires him to undergo at least one full day of recovery following

           the surgery.

    4. Because Mr. Pierce will be undergoing surgery and will therefore be unavailable to attend

           the status conference on December 6, 2022, Defendant respectfully requests that this

           Court continue the status hearing to a date convenient with the Court and parties.
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5. Defendant waives, and the government does not oppose the waiver, the time between

   December 6 and the next court date, should the Court grant the continuance request. The

   defendant and government believe it would serve the interests of justice, as well as

   conserve the resources of the Court.



   A proposed Order is attached.

   WHEREFORE, the defendant respectfully moves the Court to grant said relief.



   Date: December 3, 2022                               Respectfully Submitted,

                                                        /s/ John M. Pierce
                                                        John M. Pierce
                                                        21550 Oxnard Street
                                                        3rd Floor, PMB #172
                                                        Woodland Hills, CA 91367
                                                        Tel: (213) 400-0725
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                                                        Attorney for Defendant
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                                  CERTIFICATE OF SERVICE
        I hereby certify that, on December 3, 2022, this motion and the accompany declaration
was filed via the Court’s electronic filing system, which constitutes service upon all counsel of
record.
                                                                     /s/ John M. Pierce
                                                                     John M. Pierce
